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                             UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


UNITED STATES OF AMERICA,                            REQUEST TO SUBMIT FOR DECISION
                       Plaintiff,
                                                     Case No. 2:21-cr-00520-JNP
        vs.
                                                     Judge Jill N. Parrish
ALLISON MARIE BAVER,

                       Defendant.



       The United States submits for decision its August 29, 2023 Motion for Preliminary Order

of Forfeiture (ECF 186).

       On August 29, 2023, the United States filed a motion for preliminary order of forfeiture.

Ms. Baver responded on September 20, 2023 (ECF 190), the United States replied on September

27, 2023 (ECF 191), Ms. Baver filed a sur-reply on September 28, 2023 (ECF 192).

       Sentencing is scheduled for August 13, 2023.

       Although Rule 32.2(b)(1)(B) requires the court to hold a hearing upon request of either

party, neither party has requested such a hearing.

       Under Rule 32.2(b)(2)(A) and (B) the court must enter a forfeiture order forfeiture and

the order must typically be entered before sentencing. This order is in addition to the forfeiture

order reference that must be in the judgment under Rule 32.2(b)(4)(B).
       Accordingly, the United States submits for decision the Motion for Preliminary Order of

Forfeiture.

       Respectfully submitted,

                                           TRINA A. HIGGINS
                                           United States Attorney

                                           /s/ Travis K. Elder
                                           Travis K. Elder
                                           Assistant U.S. Attorney




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